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           Exhibit E
12/2/2020                                         Case 1:20-cv-02146-TJK        Document
                                                                 Six Royal Decrees,             58-6
                                                                                    Royal Statement      Filed
                                                                                                    Issued       12/07/20
                                                                                                           2 Riyadh,             Page
                                                                                                                     the Saudi Press    2 of 2
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                                                                                                                          Six Royal Decrees, Royal Statement Issued 2 Riyadh
                                                                                                                                        Friday 3/4/1436 AH, corresponding to 01/23/2015 AD, SPA




    Custodian of the Two Holy Mosques King Salman bin Abdulaziz Al Saud issued a royal decree appoin ng Prince Mohammed bin Salman bin Abdulaziz Al Saud
                                                                                                                    .as the Minister of Defense in addi on to his current posi on


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